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12
                          UNITED STATES DISTRICT COURT
13
           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
14
     JOHN C. EASTMAN,                  Case No.: 8:22-cv-00099-DOC-DFM
15
                          Plaintiff,
16   vs.

17   BENNIE G. THOMPSON, et al.
18                        Defendants

19

20

21               BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS AS TO
                        DOCUMENTS HELD IN ABEYANCE
22

23                              PROCEDURAL BACKGROUND
24

25

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 1         In May of this year the congressional defendants withdrew their objections
 2
     to 721 documents, continued to object to 721 documents, and held their objections
 3
     to 576 documents in “abeyance.” Over the 721 documents to which the
 4
     congressional defendants objected, Plaintiff withdrew his claim of privilege over
 5
     two documents, identified five as copies, and produced 115 documents pursuant to
 6

 7   this Court’s rulings on comparable materials.

 8         Of the remaining 599 documents submitted to this Court for in camera
 9
     review, the Court held that 20 were protected by the First Amendment (25 pages),
10
     8 by the Attorney-Client privilege (25 pages), 373 by the Work Product doctrine
11
     (1402 pages), and 39 by both Attorney-Client and Work Product (103 pages).
12
     Another 14 (23 pages) were ordered produced with A/C or W/P material redacted.
13

14   In other words, the overwhelming majority of the disputed documents (454 of 599,

15   totaling 1578 pages) were held to be protected. 144 documents were ordered to be
16
     produced as not protected under either Attorney-Client privilege or Work Product
17
     doctrine. The Court ordered a single document (not authored by Dr. Eastman)
18
     produced pursuant to the crime-fraud exception.
19
           On September 15, 2022 at the congressional defendants’ request, this Court
20

21   set the current briefing schedule to resolve objections to the remaining documents.

22   ECF 367.
23

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 1                     THE DOCUMENTS HELD IN ABEYANCE
 2
           Of the 576 documents (3236 pages) the congressional defendants previously
 3
     held in abeyance, Plaintiff has withdrawn his objections pursuant to this Court’s
 4
     prior rulings as to 18 documents.1 Plaintiff will produce these documents to the
 5
     congressional defendants.
 6

 7           Of the remaining documents the vast majority are either part of an email

 8   chain this Court has previously held to be protected or very similar to material this
 9
     Court has previously held to be protected. The few documents not falling in either
10
     of these categories are mostly clear cases of work product, e.g. a draft filing
11
     transmitted with attorney edits.
12
           As it would be unwieldy to address all five hundred some documents in this
13

14   filing, Plaintiff has prepared a spreadsheet along the lines of privilege logs

15   previously submitted to the Court in this litigation. The last column of the
16
     spreadsheet (column M) directs the Court to the applicable prior rulings relevant to
17
     the various abeyance documents. Pursuant to this Court’s prior orders, the log will
18
     be submitted to this Court under seal and served upon opposing counsel. 2
19

20

21

22
     1
       Plaintiff maintains his objections to this Court’s prior rulings as stated on the
23
     record at the time.
24   2
      Plaintiff will confer with opposing counsel as to whether the information in the
     spreadsheet will lessen the need for this Court’s in camera review.
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 1                                   Respectfully submitted,
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 2
                          CERTIFICATE OF SERVICE
 3
        I have served this filing on all counsel through the Court’s ECF system.
 4
                                        Respectfully submitted,
 5

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